8:17-cr-00207-RFR-MDN         Doc # 134    Filed: 02/06/18    Page 1 of 2 - Page ID # 422




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                               8:17CR207

       vs.                                                 FINAL ORDER
                                                          OF FORFEITURE
BLANCA AVILA DE VEGA; MELISSA
VEGA; ALEJANDRO BUENDIA-
RAMIREZ; CARLOS ALBERTO
VALQUIER; and ALFREDO
VALQUIER,

                     Defendants.


       This matter is before the Court on the government’s Motion for Final Order of
Forfeiture (Filing No. 133). The Court has reviewed the record in this case and finds as
follows:

       1.     On December 4, 2017, the Court entered a Preliminary Order of Forfeiture
(Filing No. 121) pursuant to the provisions of Title 21, United States Code, Sections 846
and 853 and based upon the special verdict forfeiting defendant Alfredo Valquier’s interest
in the currency and the defendants Blanca Avila De Vega, Melissa Vega, Alejandro
Buendia-Ramirez, and Carlos Alberto’s pleas of guilty to Count I and admitting the
Forfeiture Allegation of the Indictment. By way of the Preliminary Order of Forfeiture,
the defendants’ interest in $92,500 and $19,000 in United States currency was forfeited to
the government.

       2.     Notice of Criminal Forfeiture was posted on an official internet government
forfeiture site, www.forfeiture.gov, for at least thirty consecutive days, beginning on
December 5, 2017, as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for
8:17-cr-00207-RFR-MDN         Doc # 134     Filed: 02/06/18    Page 2 of 2 - Page ID # 423




Admiralty or Maritime Claims and Asset Forfeiture Actions.                A Declaration of
Publication was filed herein on February 6, 2018 (Filing No. 132).

       3.     The Court has been advised by the government that no Petitions have been
filed. From a review of the Court file, no Petitions have been filed.

       4.     The government’s Motion for Final Order of Forfeiture should be granted.

       IT IS ORDERED:
       1.     The government’s Motion for Final Order of Forfeiture is granted.

       2.     All right, title and interest in and to the $92,500 and $19,000 in United States
              currency held by any person or entity are hereby forever barred and
              foreclosed.

       3.     The $92,500 and $19,000 in United States currency is forfeited to the
              government.

       4.     The government is directed to dispose of said property in accordance with
              law.


       Dated this 6th day of February, 2018.


                                           BY THE COURT:



                                           Robert F. Rossiter, Jr.
                                           United States District Judge




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